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                Exhibit 14
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                 Infringement Claim Chart for U.S. Pat. No. US9456086B1 v. OnePlus
                                           (“Defendant”)
     Claim11                                                        Evidence

11. A method for       The OnePlus Customer Support Service system with intelligent routing performs a method of matching a
matching a first       first entity with a second entity.
entity with a second
entity, comprising:    For example, the OnePlus Customer Support Service system matches an incoming call, which is the first
                       entity, to a call center agent, which is the second entity.




                       Source: Contact us (oneplus.com)




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Source: Live Chat - OnePlus (custhelp.com)




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storing a plurality of   The OnePlus Customer Support Service system with intelligent routing stores a plurality of multivalued
multivalued scalar       scalar data representing inferential targeting parameters for the first entity.
data representing
inferential targeting    For example, the OnePlus Customer Support Service system uses one or more of: interactive voice
parameters for the       response (IVR), keypad menus, caller identification and customer relationship management (CRM)
first entity;            information to determine the nature of a call and thereby, the required characteristics of a call center
                         agent to handle the call. These required agent characteristics include one or more of: skills and respective
                         skill levels, the agent’s location, prior call history with calls of the same nature. These required
                         characteristics are represented by Zendesk Omnichannel support comprising a plurality of multivalued
                         scalar data, which is stored and used, by the OnePlus Customer Support Service system, as inferential, or
                         intelligent, targeting parameters for routing the call to an appropriate call center agent.




                         Source: Contact us (oneplus.com)




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Source: Live Chat - OnePlus (custhelp.com)




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Source: OnePlus Customer Service & Service Center Details - OnePlus Appliances & Mobile - Best Service
Near Me (1stbestservice.com)




Source: OnePlus Chose Zendesk for its Global Omnichannel solution - PCQuest




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Source: Zendesk: Customer Service Software and Sales CRM | Best in 2023 | Zendesk India




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storing a plurality of   The OnePlus Customer Support Service system with intelligent routing stores a plurality of multivalued
multivalued scalar       scalar data of each of the plurality of second entities, representing inferential targeting parameters for a
data of each of the      plurality of second entities.
plurality of second
entities,                For example, the OnePlus Customer Support Service system stores the respective characteristics of
representing             multiple call center agents. These agent characteristics include one or more of: skills and respective skill
inferential targeting    levels, the agent’s location, and the agent’s prior history with handling calls of a specific nature. The agent
parameters for a         characteristics are represented by Zendesk Omnichannel support comprising a plurality of multivalued
plurality of second      scalar data and are used, by the OnePlus Customer Support Service system, as inferential targeting
entities;                parameters for routing the call to an appropriate call center agent.




                         Source: Contact us (oneplus.com)




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Source: Live Chat - OnePlus (custhelp.com)




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Source: OnePlus Customer Service & Service Center Details - OnePlus Appliances & Mobile - Best Service
Near Me (1stbestservice.com)




Source: OnePlus Chose Zendesk for its Global Omnichannel solution - PCQuest




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                      Source: Zendesk: Customer Service Software and Sales CRM | Best in 2023 | Zendesk India

performing using an   The OnePlus Customer Support Service system with intelligent routing performs, using an automated
automated             processor and based on at least the stored plurality of multivalued scalar data, an economic optimization.
processor, based on   The optimization seeks to maximize a normalized economic surplus of a respective mutually exclusive
at least the stored   match of the first entity with the second entity, while at the same time considering an opportunity cost of
plurality of          the unavailability of the second entity as a result of the match.
multivalue scalar
data, an economic     For example, based on the required agent characteristics for handing the call and the respective
optimization          characteristics of multiple call center agents, the OnePlus Customer Support Service system selects an




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seeking to              appropriate agent for handling the call. This selection is made by making, for each of the multiple agents,
maximize a              a cost-benefit analysis of a prospective matching of the call with the particular agent. The cost-benefit for
normalized              the prospective match is based, at least in part, on the required agent characteristics and the
economic surplus of     characteristics of the particular agent. This prospective match is mutually exclusive in the sense that the
a respective            call is only assigned to the particular agent and the agent to this particular call for the duration of the call.
mutually exclusive      Therefore, the cost-benefit analysis also accounts for the fact that the agent cannot handle other calls
match of the first      while handling this call. The agent associated with the prospective match that has the maximum benefit
entity with the         while considering the reduced costs, which is the so-called normalized economic surplus, is selected by the
second entity, in       OnePlus Customer Support Service system to handle the call.
conjunction with an
opportunity cost of
the unavailability of
the second entity
as a result of the
match; and




                        Source: Contact us (oneplus.com)




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Source: Live Chat - OnePlus (custhelp.com)




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Source: OnePlus Customer Service & Service Center Details - OnePlus Appliances & Mobile - Best Service
Near Me (1stbestservice.com)




Source: OnePlus Chose Zendesk for its Global Omnichannel solution - PCQuest




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                      Source: Zendesk: Customer Service Software and Sales CRM | Best in 2023 | Zendesk India

outputting a signal   The OnePlus Customer Service system with intelligent routing outputs a signal in dependence on the
in dependence on      optimization.
the optimization.
                      For example, the OnePlus Customer Service system generates and outputs a signal for connecting the call
                      with the matched agent, whereby the exact nature of the signal depends on the matched agent, so as to
                      connect that agent to the call.




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Source: Contact us (oneplus.com)




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Source: Live Chat - OnePlus (custhelp.com)




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Source: OnePlus Customer Service & Service Center Details - OnePlus Appliances & Mobile - Best Service
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Source: OnePlus Chose Zendesk for its Global Omnichannel solution - PCQuest




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